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           IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
SANDRA MEDINA,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for permission to seal (Filing No. 456) and Filing No. 457, which

is sealed.   The Court finds the motion to seal should be granted.

The sealed motion will be denied as moot.             Accordingly,

           IT IS ORDERED:

           1) Defendant’s motion for permission to seal is

granted; Filing No. 457 shall remain sealed pending further order

of the Court.

           2) Filing No. 457 is denied as moot.

           DATED this 5th day of September, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
